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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


 UNITED STATES OF AMERICA                               CASE No C 4:20-cv-07810-JSW


                                Plaintiff(s)
                                                        ADR CERTIFICATION BY
 v.
                                                        PARTIES AND COUNSEL
 VISA INC. and PLAID INC.
                                Defendant(s)

Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
she has:

      1) Read the handbook entitled “Alternative Dispute Resolution Procedures Handbook”
         (available at cand.uscourts.gov/adr).
      2) Discussed with each other the available dispute resolution options provided by the Court
         and private entities; and
      3) Considered whether this case might benefit from any of the available dispute resolution
         options.
 Date:December 11, 2020                                /s/ Brandis Anderson (Plaid Inc.)
                                                                           Party
 Date: December 11, 2020                                /s/ Justina Sessions
                                                                          Attorney

Counsel further certifies that he or she has discussed the selection of an ADR process with
counsel for the other parties to the case. Based on that discussion, the parties:
       intend to stipulate to an ADR process
       prefer to discuss ADR selection with the Assigned Judge at the case management
        conference


       Date: December 11, 2020                          /s/ Justina Sessions
                                                                             Attorney




  Important! E-file this form in ECF using event name: “ADR Certification (ADR LR 3-5 b) of Discussion of ADR
  Options.”



 Form ADR-Cert rev. 1-15-2019
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1                                      ATTORNEY ATTESTATION
2           I, Justina K Sessions, am the ECF user whose identification and password are being used
3    to file the ADR Certification by Parties and Counsel. Pursuant to Local Rule 5-l(i)(3), I hereby
4    attest that all signatories listed hereto, and on whose behalf the filing is submitted, concur in this
5    document’s content and have authorized the filing of this document with the use of their
6    electronic signature.
7

8                                          /s/ Justina K. Sessions
                                           Justina K. Sessions
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                                                        ADR CERTIFICATION BY PARTIES AND COUNSEL
                                                                          Case No.: 4:20-CV-07810-JSW
